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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

UNITED STATES OF AMERICA                         )
                                                 )
        Plaintiff,                               )      Criminal Action No. 5: 13-091-DCR
                                                 )
V.                                               )
                                                 )
WILLIAM SCOTT HAMLIN,                            )          MEMORANDUM OPINION
                                                 )              AND ORDER
        Defendant.                               )
                                                 )

                                  ****    ****       ****   ****

       Defendant William Scott Hamlin worked for an organization that was responsible for

delivering drugs across the border from Mexico into Texas, and then transporting the drugs

via tractor trailer to destinations in the eastern part of the United States. Specifically, Hamlin

participated as a delivery driver transporting marijuana from South Texas. [See Record No.

241, p. 2] On August 5, 2012, Hamlin was stopped at a United States Border Patrol

checkpoint near Laredo, Texas, with approximately 1,256 kilograms of marijuana in a hidden

compartment. He pleaded guilty on September 4, 2013, to conspiring to distribute more than

1,000 kilograms of marijuana as charged in Count 1 of a superseding indictment. [Record

No. 109] On February 26, 2014, Hamlin was sentenced to a term of imprisonment of 84

months for his admitted criminal conduct. [Record No. 246]

       This matter is pending for consideration of Hamlin’s motion to reduce his term of

imprisonment pursuant to 18 U.S.C. § 3582(c)(2). [Record No. 321] Hamlin requests a two-

level reduction in his non-binding guideline calculation following recent changes to the
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United States Sentencing Guidelines. Hamlin has provided Certificates of Completion of

programs during his imprisonment including the Freedom from Drugs Program, the Institute

of Self-Worth, and Personality Profiles. [Record No. 321-1]                 The completion of these

programs has been considered in evaluating Hamlin’s motion. However, for the reasons

described below, Hamlin’s motion will be denied. 1

        Based on the quantity of drugs attributed to him, Hamlin’s Base Offense Level was

calculated as 30.      Hamlin received a two-level reduction as a minor participant in the

criminal activity pursuant to U.S.S.G. § 3B1.2(b) and a three-level reduction for acceptance

of responsibility. [PSR, pp. 11–12] Combined with his Criminal History Category of III,

Hamlin’s non-binding guideline range for imprisonment was 70 to 87 months. [PSR, p. 20]

However, because Hamlin’s conviction qualified under 21 U.S.C. § 841(b)(1)(A), he was

subject a statutory minimum term of imprisonments of 120 months. See U.S.S.G. § 5G1.1;

[PSR, p. 20] The United States moved for a downward departure from the mandatory

minimum term of imprisonment pursuant to U.S.S.G. § 5K1.1 and recommended a departute

of three years (i.e., a total sentence of 84 months).


1       The Court has also determined that appointment of counsel is not necessary. Further, this matter
need not be scheduled for hearing to resolve the defendant’s motion. There is no constitutional right to
counsel or to a hearing in proceedings filed under 18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55
F.3d 1007 (5th Cir. 1995); United States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v.
Webb, 565 F.3d 789 (11th Cir. 2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert.
denied, 531 U.S. 1080 (2001).

        A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through which appropriately
sentenced prisoners can urge the court to exercise leniency to give [them] the benefits of an amendment to
the U.S. Sentencing Guideline Manual. As such, it does not entitle [a prisoner] to appointed counsel.”
Townsend, 98 F.3d at 513 (citing Whitebird, 55 F.3d at 1011). Instead, the district court has discretion to
determine whether appointment of counsel is warranted. Where, as here, the record and information
possessed by the Court from the original sentencing is sufficient to consider any motion filed under 18
U.S.C. § 3582(c)(2), appointment of counsel would be unnecessary and a waste of resources.

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       Although the Court ultimately adopted the United States’ recommendation of 84

months, all statutory factors were carefully considered when evaluating the sentence to be

imposed (i.e., the serious nature of the offense, the history and characteristics of the

defendant, the detrimental impact such crimes have on the public, Hamlin’s need for

rehabilitation, and the need for adequate general and specific deterrence to future criminal

conduct). Notwithstanding the provisions of U.S.S.G. § 1B1.10(c) of the 2014 manual, the

undersigned continues to believe that the sentence originally imposed is sufficient but not

greater than necessary to meet all statutory goals included in 18 U.S.C. § 3553(a).

       While Hamlin has completed numerous programs during his imprisonment, a

sentence reduction would unduly diminish the seriousness of his criminal conduct. Hamlin

participated in an extensive conspiracy involving the trafficking of large quantities of

controlled substances from outside the country to areas in the eastern part of the United

States. He was stopped with approximately 1,256 kilograms of marijuana in the tractor

trailer he was driving. [PSR, pp. 8–9] This criminal conduct has a negative effect on society

in general and causes public harm. Thus, under the circumstances presented, an additional

reduction is not warranted. Accordingly, it is hereby

       ORDERED that Defendant William Scott Hamlin’s motion to reduce his sentence

under 18 U.S.C. § 3582(c) [Record No. 321] is DENIED.

       This 17th day of March, 2015.




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